          Case 1:20-cv-02231-MKV Document 32 Filed 10/19/20 Page 1 of 1




IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK


TARGUS INTERNATIONAL LLC, a                         Case No. 1:20-cv-2231
Delaware limited liability company,
                                                                       USDC SDNY
               Plaintiff,                                              DOCUMENT
                                                                       ELECTRONICALLY FILED
     v.                                                                DOC #:
                                                                       DATE FILED: 10/19/2020
TUCANO USA, INC., a California
corporation, and DOES 1-10,

               Defendants.



                     ORDER GRANTING STIPULATION FOR DISMISSAL


       After considering the Stipulation for Dismissal submitted by Plaintiff and Counter-

Defendant Targus International LLC (“Targus” or “Plaintiff”) and Defendant and Counter-

Claimant Defendant Tucano USA, Inc. (“Tucano” or “Defendant”), and for good cause

appearing, Court GRANTS the Stipulation. It is ordered that:

       (1)    The parties’ claims and counterclaims asserted in this action shall be dismissed

              with prejudice; and

       (2)    Each party shall bear its own attorneys’ fees, costs, and expenses.

       IT IS SO ORDERED.



Date: October 19, 2020
      New York, New York                    Hon. Mary Kay Vyskocil
                                            UNITED STATES DISTRICT JUDGE
